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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )       CASE NO.
                       Plaintiff,             )
                                              )
               v.                             )       COMPLAINT FOR CIVIL PENAL TIES,
                                              )       PERMANENT INJUNCTION, AND
PLS FINANCIAL SERVICES, INC.,                 )       OTHER EQUITABLE RELIEF
an Illinois corporation,                      )
                                              )
PLS GROUP, INC.,                              )
a Delaware corporation, and                   )
                                              )
THE PAYDAY LOAN STORE                         )
OF ILLINOIS, INC.,                            )
an Illinois corporation,                      )
                                              )
                       Defendants.            )




       Plaintiff, the United States of America, acting upon notification and authorization to the

Attorney General by the Federal Trade Commission (FTC or Commission), pursuant to Section

I6(a)(1) of the Federal Trade Commission Act (FTC Act), 15 U.S.c. § 56(a)(l), for its

Complaint alleges as follows:

       1.      Plaintiff brings this action under Sections 5(a), 13(b), and I6(a) of the Federal

Trade Commission Act (FTC Act), 15 U.S.C. §§ 45(a), 53(b), and 56(a), and Section 621 (a) of

the Fair Credit Reporting Act (FCRA), 15 U.S.C. § I68Is(a), to obtain monetary civil penalties

and permanent injunctive and other equitable relief for Defendants' acts or practices in violation

of (a) the rule regarding the Disposal of Consumer Report Information and Records (Disposal

Rule), 16 C.F.R. Pat1682, issued pursuant to Section 628 of the FCRA, 15 U.S.C. § I68Iw, as

added by Section 216 of the Fair and Accurate Credit Transactions Act of 2003 (FACT Act); (b)
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the rule regarding the Standards for Safeguarding Customer Information (Safeguards Rule), 16

C.F.R. Part 314, issued pursuant to Title V, Subtitle A, of the Gramm-Leach-Bliley    Act (GLB

Act), 15 U.S.C. §§ 6801-6809; (c) Section 5Ca)of the FTC Act, 15 U.S.C. § 45(a); and (d) the

rule regarding the Privacy of Consumer Financial Information (Privacy Rule), 16 C.F.R. Part

313, issued pursuant to Title V, Subtitle A, of the GLB Act, 15 U.S.c. §§ 6801-6809.

                                 JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction pursuant to 28 U.S.c. §§ 1331, l337(a),

1345, and 1355, and 15 U.S.C. §§ 45(a), 53(b), 56(a), and 1681sCa).

       3.      Venue is proper in this district under 15 U.S.C. § 53(b) and 28 U.S.C. §§ 1391(b),

l39l(c), and 1395(a).

                                            DEFENDANTS

       4.      Defendant PLS Financial Services, Inc. (PLS), is an Illinois corporation with its

principal place of business at 300 N. Elizabeth Street, 4th Floor, Chicago, Illinois 60607. At all

times relevant to this Complaint, PLS has transacted business in this district. PLS is wholly

owned by Defendant PLS Group, Inc. PLS's President is Robert Wolfberg and its

Secretary/Treasurer   is Daniel Wolfberg.

       5.      Defendant PLS Group, Inc. (Group), is a Delaware corporation with its principal

place of business at 300 N. Elizabeth Street, 4th Floor, Chicago, Illinois 60607. Group was

incorporated in or about March 20 Il, and at times relevant to this Complaint, Group has

transacted business in this district. Group's President is Robert Wolfberg and its

Secretary/Treasurer   is Daniel Wolfberg. Together, Robert and Daniel Wolfberg own over 80%

of Group.

       6.      Defendant The Payday Loan Store of Illinois, Inc. (PLS-Illinois), is an Illinois

corporation with its principal place of business at 300 N. Elizabeth Street, 4th Floor, Chicago,


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Illinois 60607. At all times relevant to this Complaint, PLS-Illinois has transacted business in

this district. PLS-Illinois is wholly owned by Group. PLS-Illinois's President is Daniel

Wolfberg and its Secretary/Treasurer is Robert Wolfberg.

         7.     In addition to PLS and PLS-Illinois, Group owns approximately two dozen

corporations and other legal entities (Operating Companies) that in turn own retail stores known

as PLS Loan Stores and PLS Check Cashers. PLS-Illinois is one such Operating Company.

Before approximately March 2011, PLS and the Operating Companies, including PLS-Illinois,

were owned in whole or in part by Robert and Daniel Wolfberg. Since approximately March

2011, PLS and the Operating Companies, including PLS-Illinois, have been wholly owned by

Group.

         8.     Defendants PLS and PLS-Illinois, in connection with the other Operating

Companies, have operated as a common enterprise while engaging in the unlawful acts and

practices alleged below. PLS and PLS-Illinois have conducted the acts and practices described

below through an affiliated group of companies that have common directors, officers, and office

locations; centralized recordkeeping or other systems; and identical or substantially similar sales

teclmiques. Because PLS and PLS-Illinois have operated as a common enterprise, each of them

is jointly and severally liable for the acts and practices alleged below.

         9.     By virtue of its ownership of PLS and the Operating Companies, including PLS-

Illinois, Defendant Group has had the ability to formulate, direct, control, and participate in, the

acts and practices ofPLS and PLS-Illinois.    Defendant Group is jointly and severally liable for

the conduct of PLS and PLS-Illinois because it has had and continues to have (a) the authority to

control and direct the activities of PLS, PLS-Illinois, and the other Operating Companies,

including the conduct relating to PLS Loan Stores and PLS Check Cashers alleged herein; and




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(b) the authority and responsibility to prevent or correct the unlawful acts or practices alleged in

this Complaint.

                                            COMMERCE

        10.       At all times material to this Complaint, Defendants have maintained a substantial

course of trade in or affecting commerce, as defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

                             DEFENDANTS' BUSINESS ACTIVITIES

        11.       Group's Operating Companies own and operate over 300 PLS Loan Stores and

PLS Check Cashers in at least nine states. PLS provides management services to PLS Loan

Stores and PLS Check Cashers, and establishes the policies and procedures used by PLS Loan

Stores and PLS Check Cashers to ensure the safe collection, handling, and disposal of sensitive

consumer financial information.     PLS also audits PLS Loan Stores and PLS Check Cashers to

assess compliance with these policies and procedures.

        12.       Operating Companies using the name PLS Loan Store offer consumers a variety

of products and services, including but not limited to payday loans, automobile title loans, Sh0l1-

term installment loans, debit cards, credit cards, and, in some instances, tax preparation services

and assistance in obtaining loans from others. There are PLS Loan Stores in at least the

following states: Alabama, Arizona, California, Illinois, Indiana, Mississippi, Texas, and

Wisconsin.

        13.       Operating Companies using the name PLS Check Cashers offer consumers a

variety of products and services, including but not limited to cell phones, phone cards, debit

cards, rolled coins, stamps, transit passes, and money orders, as well as check cashing, notary,

facsimile, ATM, copying, and coin machine services. There are PLS Check Cashers in at least

the following states: Arizona, California, Illinois, Indiana, New York, Texas, and Wisconsin.




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       14.     In the course of offering and selling products and services to consumers through

PLS Loan Stores and/or PLS Check Cashers, Defendants collect and maintain, and/or are

responsible for collecting and maintaining, sensitive consumer information concerning their

customers, including but not limited to consumers' names, addresses, birthdates, telephone

numbers, Social Security numbers, driver's license numbers, employment information, bank

account information, and consumer reports, as defined in the FCRA.

       15.     In operating PLS Loan Stores, Defendants disseminated or caused to be

disseminated to consumers written statements regarding their privacy and security policies and

practices, including but not limited to a one page "Privacy Notice" which stated in part, "We

maintain physical, electronic, and procedural safeguards that comply with federal regulations to

guard your nonpublic information."

       16.     Contrary to these statements, Defendants, through their operation and

management of PLS Loan Stores and PLS Check Cashers, engaged in a number of practices that,

taken together, failed to provide reasonable and appropriate security for sensitive consumer

information they collected, handled and/or maintained.   Since at least January 2009, in

connection with the operation and management of PLS Loan Stores and PLS Check Cashers,

PLS and PLS-Illinois, and, later, Group, failed to implement policies and procedures in key

areas, including the physical security of sensitive consumer information; the proper collection,

handling, and disposal of sensitive consumer information; and employee training regarding such

matters. In addition, Defendants failed to develop, implement, and maintain a comprehensive

written information security program and failed to identify reasonably foreseeable internal and

external risks to consumer information.

       17.     Defendants also engaged in acts and practices that, taken together, constitute

failures to take reasonable measures to protect consumer reports, or information derived from


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consumer reports, against unauthorized access or use in connection with their disposal. Among

other things, Defendants failed to (a) implement and monitor policies and procedures requiring

sensitive consumer information to be disposed of in a manner that ensures that the information

CaIIDOtpracticably be read or reconstructed; (b) ensure that employees assigned to collect or

transport the information for disposal are qualified to do so and have received appropriate

guidance or training; (c) alert such employees to the sensitive nature of the information, or

instruct them to take precautions with respect to the information; and (d) oversee the collection

and transport of the information for disposal, or otherwise confirm that the information is

disposed of in a manner that ensures that the information cannot practicably be read or

reconstructed.

        18.      As a result of the failures described above, intact documents containing

consumers' personal information were found on multiple occasions in dumpsters near PLS Loan

Stores and/or PLS Check Cashers, which were unsecured and easily accessible to the public. For

example, in April 2010, boxes of documents were recovered from a dumpster near the

Bolingbrook, Illinois, PLS Loan Store at 346/348 Bolingbrook Commons. In the same month,

additional documents were retrieved from dumpsters located near the PLS Loan Stores and/or

PLS Check Cashers locations at 4838 South Cicero, Chicago, Illinois; 628 West 14th Street,

Chicago Heights, Illinois; and 1515 Western Avenue, Chicago Heights, Illinois. These

documents contained nonpublic personal information, including customers' names, addresses,

Social Security numbers, wage information, bank account information, cancelled checks, loan

applications, loan agreements, receipts for loan payments, at least 29 consumer reports, and other

sensitive consumer information that had been collected by PLS and PLS-Illinois.

        19.      In addition, from at least March 2009 to October 20 10, PLS and PLS- Illinois

frequently failed to ensure that its customers were provided with a privacy notice, as required by


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the Privacy Rule, describing its information collection and sharing practices with respect to

affiliated and non-affiliated third patties. PLS and PLS-Illinois required such privacy notices to

be signed by customers and kept in files located in the relevant PLS Loan Store.

Notwithstanding this policy, the files in many PLS Loan Stores had unsigned, outdated or

missing privacy notices. PLS and PLS-Illinois were aware of these deficiencies and yet failed to

take meaningful steps to correct them.

                              VIOLATIONS OF THE DISPOSAL RULE

                                             COUNT I

       20.     Section 628(a) of the FCRA, 15 U.S.C. § 1681w(a), as added by Section 216 of

the FACT Act, directs the Commission to prescribe regulations requiring "any person that

maintains or otherwise possesses consumer information, or any compilation of consumer

information, derived from consumer reports for a business purpose to properly dispose of any

such information or compilation."   Pursuant to this directive, the Commission promulgated the

Disposal Rule, 16 C.F.R. § 682.1 et seq., which took effect on June 1,2005.    The Disposal Rule

requires any person that maintains or otherwise possesses consumer information derived from

consumer reports for a business purpose to take reasonable measures to protect against

unauthorized access to or use of the information in connection with its disposal. 16 C.F.R.

§ 682.3.

       21.     Section 621 of the FCRA, 15 U.S.C. §1681 s, authorizes the Commission to use all

of its functions and powers under the FTC Act to enforce compliance with the FCRA by all

persons subject thereto except to the extent that enforcement specifically is committed to some

other governmental agency, irrespective of whether the person is engaged in commerce or meets

any other jurisdictional tests set forth by the FTC Act.




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            22.       PLS and PLS-Illinois        are "persons"       as defined in the FCRA,          15 U.S.C.

§ 1681a(b), and the Disposal             Rule, 16 C.F.R. § 682.1.

            23.       At all times relevant to this action, PLS and PLS-Illinois                  have maintained       and

possessed         "consumer     information"     derived from "consumer           reports,"     as defined in the FCRA,

15 U.S.c.         § 1681a(d), and the Disposal        Rule, 16 C.F.R. § 682. I (b), for a business purpose.

            24.       Through the acts and practices            described     in paragraphs      16 to 18, PLS and PLS-

Illinois have failed to take reasonable              measures     to protect against unauthorized           access to or use

of consumer         information      in connection    with its disposal,      in violation     of Section 628 of the

FCRA,       15 U.S.C. § 168Iw, and Section 682.3(a) of the Disposal                      Rule, 16 C.F.R. § 682.3(a).

            25.       Pursuant to Section 621(a)(l)           of the FCRA, 15 U.S.c.            § 1681s(a)(1),     PLS's and

PLS-Illinois's        violations    of the FCRA and the Disposal Rule constitute                  unfair or deceptive        acts

or practices       in violation    of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

            26.       The acts or practices       described     in paragraphs      16 to 18 constitute      a pattern or

practice of knowing            violations,   as set forth in Section 621 (a)(2)(A)            of the FCRA,       15 U.S.C.

§ I68Is(a)(2)(A).

                                   VIOLATIONS OF THE SAFEGUARDS RULE

                                                          COUNT II

            27.       The Safeguards         Rule, which implements           Section 501(b) of the GLB Act,

15 U.S.c.         § 6801(b), was promulgated          by the Commission           on May 23,2002,          and became

effective     on May 23, 2003.          The Rule requires financial           institutions    to protect the security,

confidentiality,       and integrity of customer         information        by developing      a comprehensive       written

information         security program containing         reasonable     administrative,        technical,   and physical

safeguards,        including    safeguards     used to access, collect, distribute,           process, protect, store, use,

transmit,     dispose of, or otherwise         handle customer        information.


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            28.      PLS and PLS-Illinois          are "financial      institutions,"     as defined in Section 509(3)(A)

of the GLB Act, 15 U.S.C. § 6809(3)(A),                   and are subject to the requirements              of the Safeguards

Rule.

            29.      Through the acts and practices           alleged in paragraph            16, PLS and PLS-Illinois

failed to develop or implement               reasonable   administrative,        technical,    and physical       safeguards      to

protect the security, confidentiality,            and integrity of customer             information,     in violation    of the

Safeguards        Rule.   In addition,      PLS and PLS-Illinois        failed to identify reasonably             foreseeable

internal and external risks to customer              information,       and failed to develop,          implement,      or

maintain      a comprehensive        written information        security program,          as required by the Rule, 16

C.F.R. Part 314.

                                            VIOLATIONS OF THE FTC ACT

                                                          COUNT         III

            30.       Through the means described            in paragraph        15, Defendants         represented,    expressly

or by implication,        that they had implemented           reasonable      and appropriate          measures     to protect

sensitive     consumer        information    from unauthorized         access.

            31.       In truth and in fact, as described        in paragraphs           16 to 18, Defendants        did not

implement         reasonable     and appropriate     measures       to protect sensitive       consumer      information        from

unauthorized        access.     Therefore,    the representations        described       in paragraph     30 were false or

misleading        and constitute     deceptive     acts or practices     in violation      of Section 5(a) of the FTC Act,

15 U.S.C. § 45(a).

                                    VIOLATIONS OF THE PRIVACY RULE

                                                          COUNT         IV

            32.       The Privacy Rule, which implements                 Sections       501-509 of the GLB Act,

15 U.S.C. §§ 6801-6809,             was promulgated        by the Commission              on May 24, 2000, and became


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effective     on July 1, 2001.        The Rule requires financial           institutions    to provide, no later than when

a customer        relationship      arises and annually for the duration of that relationship,               "a clear and

conspicuous         notice to customers       that accurately     reflects [the financial       institution's]   privacy

policies and practices"          including        its security policies and practices.         16 C.F.R. §§ 313.4(a),

313.5(a)(I),       and 313.6(a).

            33.        PLS and PLS-Illinois           are "financial     institutions,"    as defined in Section 509(3)(A)

of the GLB Act, 15 U.S.C. § 6809(3)(A),                    and are subject to the requirements            of the Privacy Rule.

            34.       As set forth in paragraph           19, at various times from at least March 2009 through

October 2010, PLS and PLS-Illinois                    failed to ensure that their customers         were provided        with a

copy of its privacy policy in violation                of the Privacy Rule, 16 C.F.R. Part 313.

                                                     CONSUMER INJURY

            35.       Consumers        have suffered and will continue to suffer substantial                injury as a result

of Defendants'         violations     of Section 5(a) of the FTC Act and of the Disposal,                  Safeguards,     and

Privacy Rules.         Absent injunctive           relief by this Court, Defendants          are likely to continue to injure

consumers         and harm the public interest.

                                 THIS COURT'S POWER TO GRANT RELIEF

            36.       Section 621(a)(2)(A)           of the FCRA,        15 U.S.C. § 168Is(a)(2)(A),         as adjusted    by

16 e.F.R.         § 1.98(m), authorizes       the Court to award monetary             civil penalties   of not more than

$3,500 for each knowing               violation     of the FCRA that constitutes           a pattern or practice of violations

of the statute.

            37.       Each instance in which PLS and PLS-Illinois                    failed to comply with Section 628 of

the FCRA,          15 U.S.C. § 1681w, and the Disposal                 Rule, 16 C.F.R. Part 682, constitutes         a separate

violation      of the FCRA for the purpose of assessing                  monetary     civil penalties   under Section

621 (a)(2)(A)        of the FCRA,       15 U.S.C. § 1681 s(a)(2)(A).


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          38.      Under section     13(b) of the FTC Act, 15 US.c.           § 53(b), this Court is authorized   to

issue injunctive     and such other and further equitable        and ancillary    relief as it may deem

appropriate     in the enforcement    of the FCRA, the GLB Act, and the FTC Act, to prevent and

remedy any violation      of any provision        of law enforced     by the Commission.

                     PRA VER FOR INJUNCTIVE AND MONET ARV RELIEF

          WHEREFORE,         Plaintiff,   pursuant to Sections        5(a), 13(b) and I6(a) of the FTC Act, 15

U.S.c.    §§ 45(a), 53(b), and 56(a), and Section 62I(a) of the FCRA,               15 U.S.C. § I68Is(a),   and

the COUl1's own equitable       powers, requests that the Court:

          (1) Enter judgment     against PLS and PLS-Illinois           and in favor of Plaintiff on Counts I-IV;

          (2) Enter judgment     against Group and in favor of Plaintiff on Count III;

          (3) Enter a permanent      injunction     to prevent future violations    of the FCRA, the Disposal

                Rule, the GLB Act, the Safeguards         Rule, the FTC Act, and the Privacy Rule;

          (4) Award Plaintiff monetary        civil penalties    from PLS and PLS-Illinois      for each violation

                of the FCRA alleged in the Complaint;           and

          (5) Award Plaintiff the costs of bringing         this action, as well as such other and additional

                relief as the Court may determine        to be just and proper.




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Dated: October 17,2012                         Respectfully submitted,

OF COUNSEL:                                    FOR THE UNITED STATES OF AMERICA

JON MILLER STEIGER                             STUART F. DELERY
Director, East Central Region                  Acting Assistant Attorney General
                                               Civil Division
MARIA DEL MONACO
JONA THAN L. KESSLER                           MICHAEL S. BLUME
Attorneys                                      Director
Federal Trade Commission
1111 Superior Avenue, Suite 200                RICHARD GOLDBERG
Cleveland, OH 44114                            Assistant Director
                                               Consumer Protectio Branch
Phone: (216) 263-3405 (Del Monaco)
Phone: (216) 263-3436 (Kessler)                By: ~~~~~~~~~                             _
Fax: (216) 263-3426                            JOHNW       URKE
mdelmonaco@ftc.gov                             Trial A orney, Consumer Protection Branch
jkessler@ftc.gov                               United States Department of Justice
                                               P.O. Box 386
                                               Washington, DC 20044
                                               Phone: 202-353-2001
                                               Fax: 202-514-8742
                                               josh.burke@usdoj.gov

                                               GARY S. SHAPIRO
                                               Acting United States Attorney
                                               Northern District of Illinois

                                               THOMAS P. WALSH
                                               Chief, Civil Division
                                               Northern District of Illinois
                                               219 South Dearborn, s" Floor
                                               Chicago, IL 60604
                                               Phone: 312-353-5312
                                               thomas.walsh2@usdoj.gov




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